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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                          )   CASE NO.: 1:18CR701
                                                    )
                Plaintiff,                          )   JUDGE CHRISTOPHER A. BOYKO
                                                    )
        v.                                          )
                                                    )
 ERIC WITHERSPOON,                                  )   JOINT MOTION TO CONTINUE
                                                    )   SENTENCING
                Defendant.                          )


       The United States of America, by and through its counsel, Justin E. Herdman, United

States Attorney, and Chelsea S. Rice and Elliot Morrison, Assistant United States Attorneys, and

Defendant Eric Witherspoon, through his counsel, jointly move this Court for a 45-day

continuance of Defendant Eric Witherspoon’s sentencing hearing.

       Defendant is set for sentencing this coming Thursday, March 19, 2020, at 11:00am.

Defendant is not detained and has been on a bond since the start of this case. Given concerns

about the transferability of the Corona virus and resulting COVID-19 infection, all parties are in

agreement that a continuance is in the best interest of the parties and the public. Undersigned

counsel has spoken to Dominic Vitantonio, one of the attorney’s for Defendant, who stated that

Defendant joins this motion.

                                                        Respectfully submitted,

                                                        JUSTIN E. HERDMAN
                                                        United States Attorney

                                              By:       /s/ Elliot Morrison
                                                        Chelsea S. Rice (OH: 0076905)
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